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. Exhibit 15

 
 

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€omputershare

Cusip:
Company Name:
Company Desc:

As of Date:

Shares:

Increase:

Description:

Special Inst:

True Capital Update

457698104
INSIDE HOLDINGS INC

COMMON

20/02/02

dd/mm/yy
Serial No: VCA - 24302

AS Authorized Change
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Decrease: 0.

>PRIVATE PLACEMENT

 

 

 

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be carried as the short desc. in the CAPITAL RECON FILE) -

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TUESDAY @ 2:30 PM

Authorized Input
By: By: Dated:

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Client Servicing

SEC028800
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TREASURY ORDER
Computershare Trust Company of Canada
Ath Floor, 510 Burrard Street
Vancouver, British Columbia
V6C 3B9

Attention: Gina Tiongco
Dear Sirs:

You are hereby authorized and directed to issue certificates for common shares in the capital of
Inside Holdings Inc. (the “Company”) to the persons named below for the number of shares set
opposite their names (collectively, the “Shares”):

Name and Address Number of Shares Price per Share
Consensus Investments Limited 1,500,000 US$0.05

Ansbacher House, 2nd Floor
Shirley and east Street North
P.O. Box N-4244, Nassau, Bahamas

Nottinghill Resources Limited 1,500,000 US$0.05
P.O. Box N3937

Mareva House, 4 George Street

Nassau, Bahamas

The share certificate representing the above shares must bear the following legend:

“THE TRANSFER OF THE SECURITIES REPRESENTED BY THIS CERTIFICATE IS PROHIBITED EXCEPT
IN ACCORDANCE WITH THE PROVISIONS OF REGULATION “S” PROMULGATED UNDER THE UNITED
STATES SECURITIES ACT OF 1933, AS AMENDED.”

We certify that the allotment and issuance of the Shares have been approved by a resolution passed
by the directors of the Company on February 20 _, 2002, a copy of which is attached to this
Treasury Order, and that the Company has received full consideration for the Shares so that they
are fully paid and non-assessable.

These Shares are being issued in conjunction with a private placement.

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We certify that the allotment of the Shares is not made consequent upon a direction given by an
optionee or other party primarily entitled to ownership in the Shares, but that it constitutes the first
transaction having the effect of creating ownership, control or the right to receive the Shares.

DATED this Z@_ day of February, 2002.

INSIDE nye YA
c/s P SL L -

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[All treasury orders must be signed by two directors, who may sign in counterpart as long as one of the signatures is
originally signed. The directors’ resolutions approving the issuance of shares must be attached to the treasury order.]

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INSIDE HOLDINGS INC.

DIRECTORS’ RESOLUTIONS

The undersigned, being all the directors of Inside Holdings Inc. (the “Company”), hereby consent
to and adopt in writing the following resolutions:

PRIVATE PLACEMENT OF SHARES

WHEREAS the directors of the Company have determined that it is in the best interests of the
Company to carry out a private placement of up to 3,000,000 common shares in the capital of the
Company at a price of US$0.05 for gross proceeds of up to US$150,000,

BE IT RESOLVED THAT:

1, the Company carry out a private placement of up to 3,000,000 common shares at a price
of US$0.05 (the “Shares”) for gross proceeds of up to US$150,000;

2. the Company enter into subscription agreements (the “Subscription Agreements”)
providing for the purchase of Shares by the subscribers to the private placement, such
Subscription Agreements to be in a form approved by any one director of the Company,
and any one director of the Company is authorized to execute and deliver the
Subscription Agreements on behalf of the Company, such execution and delivery to be
conclusive evidence of the director’s approval to the form of the Subscription Agreement;

3. any one director of the Company is authorized to perform all such acts, execute and
deliver all such documents and take all such further steps as may be necessary, as counsel
for the Company may advise or that in the opinion of such director or officer may be
considered convenient or proper to carry out the purpose and intent of these resolutions
and to give effect to the transactions contemplated hereby; and

4. these resolutions may be executed in as many counterparts as may be necessary and by
facsimile, each of such counterparts so executed will be deemed to be an original and
such counterparts together will constitute one and the same instrument and
Be nsanding the date of execution will be deemed to bear the date as of February
ce , 2002.

Kevilniiker

KEVIN WINTER ERIC COLLINS

Lt

RICHARD KING /

 

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NEXUS

VENTURE CAPITAL LAWYERS

BY COURIER

March 8, 2002

Computershare Trust Company of Canada
4" floor, 510 Burrard Street

Vancouver, BC
V6C 3B9

Attention: Gina Tiongco

Dear Sirs:

3400 - 666 Burrard St tr (604) 648 2800
Vancouver BC f (604) 648 2803
V6C 2X8

1400 - 400 3rd Ave SW_s x (403) 303 4790
Calgary AB # (403) 303 4795
T2P 4H2 Tor. race (866) 303 4790

www.nexuslaw.com

Inside Holdings Inc. (the “Company”) — Issuance of Shares

We enclose a treasury order for the issuance of 3,000,000 shares of the Company.

We also enclose a new Certificate of Incumbency for the Company.

Please deliver the share certificate to our offices for delivery to the shareholders.

If you have any questions, please do not hesitate to contact the undersigned.

Yours very truly,

NEXUS VENTURE (CAPITAL LAWYERS

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Bre da R. Nowak

 

Legal Assistant
Direct Line: (604) 639-3173
- E-Mail: bnowak@ncxuslaw.com
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LAW CORPORATION

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